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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA




      REVENUE BASED FINANCE
      COALITION,

                      Plaintiff,
                                                           Civil Action No. 1:23-cv-24882-DSL
         v.
                                                           Judge David S. Leibowitz
      CONSUMER FINANCIAL PROTECTION                        Magistrate Judge Eduardo I. Sanchez
      BUREAU; and ROHIT CHOPRA, in his
      official capacity as Director of the Consumer
      Financial Protection Bureau,

                      Defendants.



        DEFENDANTS’ RESPONSE TO PLAINTIFF’S UNOPPOSED MOTION TO STAY
           THE SECTION 1071 RULE AND HOLD PROCEEDINGS IN ABEYANCE

              Defendants the Consumer Financial Protection Bureau (CFPB) and Russell Vought, in his

  official capacity as the Acting Director of the CFPB,1 respectfully submit this response to

  Plaintiff’s unopposed motion to stay and hold proceedings in abeyance, ECF No. 71, pursuant to

  the Court’s order, ECF No. 72. Defendants agree with the relief sought by the Plaintiffs. At issue

  here is the Bureau’s final rule titled Small Business Lending Under the Equal Opportunity Act,

  88 Fed. Reg. 35150 (May 31, 2023) (1071 Rule or Final Rule), which implements Section 1071

  of the Consumer Financial Protection Act. A stay of the compliance date of this Rule is

  appropriate as several courts have concluded in similar circumstances. Indeed, two other courts

  have granted such relief in connection with challenges to the Final Rule at issue in this case.



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   Mr. Vought became the Acting Director of the CFPB effective February 7, 2025. He is
  automatically substituted as a party in his official capacity. See Fed. R. Civ. P. 25(d).
                                                     1
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         As the Court is aware, new leadership arrived at the CFPB effective January 31, 2025,

  when Scott Bessent was named Acting Director of the CFPB, and again on February 7, when

  Russell Vought replaced Scott Bessent as Acting Director. New leadership has been assessing the

  Final Rule and the issues that this case presents to determine the CFPB’s position. CFPB’s new

  leadership has directed staff to initiate a new Section 1071 rulemaking. The CFPB anticipates

  issuing a Notice of Proposed Rulemaking as expeditiously as reasonably possible. Because the

  anticipated rulemaking process may moot or otherwise resolve this litigation, holding this matter

  in abeyance would conserve the Court’s resources.

         Several courts have stayed the compliance dates of CFPB rules under these

  circumstances. See Order granting motion for stay, Texas Bankers Assoc. v. CFPB, No. 24-40705

  (5th Cir. Feb. 7, 2025), ECF No. 134; Order granting unopposed motion to stay, Cornerstone

  Credit Union League v. CFPB, No. 4:25-cv-00016-SDJ (E.D. Tex. Feb. 4, 2025), ECF No. 24;

  Order granting joint motion to stay, Forcht Bank v. CFPB, No. 5:24-cv-00304-DCR (E.D. Ky.

  Feb. 25, 2025), ECF No. 41; Order granting motion for extension, Monticello Banking Co. v.

  CFPB, No. 6:23-cv-148 (E.D. Ky. Mar. 11, 2025), ECF No. 48.

         Two of these cases—Texas Bankers Association and Monticello Banking Company—

  concern other challenges to the Final Rule at issue here, and other entities facing compliance

  deadlines under the Rule have had those obligations stayed accordingly. In light of those stays,

  there is even more reason for the Court to grant Plaintiff the same relief, as subjecting similarly

  situated entities to different compliance dates for Section 1071’s data collection requirements

  would not serve the public interest.

         Finally, staying the Final Rule’s effective date and holding the litigation in abeyance

  would not prejudice any party, as Defendants agree with Plaintiff’s request for relief here.



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         The CFPB respectfully proposes submitting periodic status reports every 90 days during

  the pendency of the rulemaking and will promptly inform the Court when the rulemaking process

  is complete. Within 30 days of the issuance of a final rule, the CFPB proposes that the parties

  confer and notify the Court of whether and how they wish to proceed.



  April 3, 2025                                        Respectfully submitted,

                                                       /s/ Andrea J. Matthews

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                                   CERTIFICATE OF SERVICE

         I hereby certify that, on April 3, 2025, I electronically filed the foregoing response with

  the Clerk of the Court of the United States District Court for the Southern District of Florida

  using the Court’s CM/ECF system. I certify that all participants in the case are registered

  CM/ECF users and that service will be accomplished by the CM/ECF system.



  April 3, 2025                                                /s/ Andrea J. Matthews
                                                               Andrea J. Matthews

                                                               Counsel for Defendants
